Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 1 of 18 Page ID #:11




                     Exhibit “A”
       Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 2 of 18 Page ID #:12
                                                                                      ORIGINAL                                                                 REC'D JAN 14 2027                SUM- 100

                                                                  SUMMONS                                                                                 SOLO
                                                                                                                                                               FOR
                                                                                                                                                                 PARA
                                                                                                                                                                     COURT   USE   ONLY
                                                                                                                                                                        USO DE LA CORTE)

                                                          CITACION              JUDICIAL)
                                                                                                                                                                                                                    A'
NOTICE TO DEFENDANT:
AVISO AL DEMANDADO):
                                                                                                                                                      lr       D L E sIk                                            1.>


                                                                                                                          and                                  COURT
MARATHON PATENT
           SUPERIORCOU DE                                  GROUP, INC.,              a   Nevada       corporation;


DOES 1- 1042)
YOU       ARE BEING SUED                                 BY PLAINTIFF:                                                                                    JAN 14 2021
                                                                                                                                                                                                                    N
 LO      ESTA                 DEMANDANDO                   EL DEMANDANTE):
                                                                                                                                                  L. VILLAIVUEVA
MICHAEL HO, an individual


 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center( www.courtinfo.ca. gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site( www.lawhelpcalifomia. org), the California Courts Online Self-Help Center
  www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of$ 10, 000 or more in a civil case. The court' s lien must be paid before the court will dismiss the case.
 iAV7SO! Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escuchar su version. Lea la informacidn a
 continuacion.

      Tiene 30 DIAS DE CALENDARIO                                despues de que le entreguen esta citacibn y papeles legates pars presenter una respuesta por escrito en este
 corte y hacer que se entregue una copia al demandante. Una carts o una Ilamada telefOnica no to protegen. Su respuesta por escrito tiene que estar
 en formata legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda user pare su respuesta.
 Puede encontrar estos formularios de la corte y mas informacton en el Centro de Ayuda de las Cortes de California( www. sucorte. ca. gov), en la
 biblioteca de! eyes de su condado o en la corte que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al secretario de la corte
 que le dd un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podr$ guitar su sueldo, dinero y bienes sin mos advertencia.
   Hay afros requisitos legates. Es recomendable que! lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucid. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
  www. lawhelpcalifomia. org), en el Centro de Ayuda de las Cortes de California,( www. sucorte. ca. gov) o poniendose en contacto con la carte o el
 colegio de abogados locales. AVMSO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sabre
 cualquier recuperaciOn de$ 10, 000 o mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
 pager el gravamen de la corte antes de que la carte pueda desechar el caso.
                                                                                                                                         CASE   NUMBER:
The     name          and address of the court is:
                                                                                                                                         Numero dal    aso).

El    nombre              y direcciOn de la corte es):                   Riverside       Historic Courthouse
                                                                                                                                          CVR                    21 0 0 0 7 8
4050 Main Street, Riverside,                                          CA 92501


The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
El nombre, la direccion y el numero de telofono del abogado del demandante, o del demandante que no tiene abogado, es):
Gregg Zucker, Foundation Law Group, 2049 Century Park East, Suite 2460, LA, CA 90067, 310.403. 9227
DATE:                                                                                                     Clerk,   by                      u                                                       Deputy
 Fecha)                                                 JAN 14
                                                                        q
                                                                        LULL
                                                                            q
                                                                                                           Secretaries `                 A&/                                                       Adjunto)

For proof of service of this summons, use Proof of Service of Summons( form ROS- 010).)
Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,( POS- 01 )).
                                                            NOTICE TO THE PERSON                  SERVED:     You are served
 SEAL]
                                                            1.    I         as an individual defendant.
                                                            2.
                R7.
                                                                         1 as the person sued under the fictitious name of( specify):
                                          4
                                                            3,              on behalf of( specify):
            i         r   ,
                                              1

                                                                      under:         CCP 416. 10 ( corporation)                                     CCP 416. 60( minor)

                                                                                     CCP 416. 20 ( defunct corporation)                             CCP 416. 70( conservatee)

                               ys,•                                                  CCP 416. 40 ( association       or   partnership)              CCP 416. 90( authorized person)

                                                                                     other( specify):
                                                            4.           1 by personal delivery on( date):                                                                                          Page   1 of 1



                                                                                                                                                       EXHIBIT A - Page 11
                                                  Use                                                                                                                 Code of Civil Procedure§§     412 20, 465
 Form Adopted         for     Mandatory                                                           SUMMONS
     Judicial Council of California                                                                                                                                                       www. courtinfo   ca gov
  SUM- 100 [     Rev          July   1,   20091
Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 3 of 18 Page ID #:13RECO JAN 14 2021
                                            ORIGINAL. •
                                                                                               SA, t
    1   GREGG D. ZUCKER, SBN 166692                                   F       - E
        FOUNDATION LAW GROUP LLP                                SUPERIOR COURT OF CALIF RNIA
                                                                      COUNTY OF RIVERSID
    2   2049 Century Park East, Suite 2460
        Los Angeles, California 90067                                  JAN 14 2021              ND

    3   Telephone: 310. 979. 7561
                                                                 L.   VILLANUEVA                a
    4   Attorneys   for Plaintiff Michael Ho

    5


    6

    7
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

    8                                 FOR THE COUNTY OF RIVERSIDE

    9

   10
        MICHAEL HO,       an   individual          CASE NO.   CVRI     210 0 0 78
   11
                       Plaintiff,
                                                   COMPLAINT FOR DAMAGES AND
   12
               v.                                  RESTITUTION

   13
        MARATHON PATENT GROUP, INC.,
        a Nevada corporation; and DOES 1- 10
   14

                       Defendants.
   15


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                                               COMPLAINT


                                                                       EXHIBIT A - Page 12
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                          r                                             i

    1
                                       BACKGROUND AND PARTIES
    2
               1.      Plaintiff Michael Ho(" HO") is a resident of Dubai.
    3
               2.      HO is informed and believes that Defendant Marathon Patent Group, Inc.
    4
          MARA") is, and at all times herein relevant was, a Nevada corporation.
    5
               3.      HO is unaware of the true names and capacities of Defendants DOES 1 through
    6
        10, inclusive, whether individual, corporate, associate, or otherwise, and therefore sues said
    7
        Defendants under such fictitious names. HO is informed and believes, and thereon alleges,
    8
        that each of the defendants named herein as a Doe is legally responsible for the acts,
    9
        occurrences and events alleged herein. HO will amend this complaint to insert the true names
   10
        and capacities of said Doe defendants when that information has been ascertained. MARA
   11
        and DOES    1- 10 are hereafter referred to as " Defendants".
   12
               4.      In or about early 2020, HO obtained information that an electricity producer,
   13
        Beowulf Energy, had available, unused capacity. HO developed that information, including
   14
        by obtaining pricing for Beowulf' s provision of electricity, which HO determined would be
   15
        favorable to certain companies that used the electricity, including MARA.
   16
               5.      In 2020, HO communicated with Merrick Okamoto, the Chairman and Chief
   17
        Executive Officer of MARA in Riverside County, California. HO explained to Mr. Okamoto
   18
        that HO had information concerning a proposed transaction that would be favorable to
   19
        MARA involving an electricity producer with available capacity.
   20
               6.      Before communicating specific information to MARA, including the identity of
   21
        the electricity producer, HO insisted on a contract with MARA that would prevent MARA
   22
        from circumventing HO and that would secure the profits that HO expected to obtain from
   23
        MARA' s use of the information and consummation of a transaction with the available energy
   24
        producer.

   25
               7.      MARA and HO accepted the terms of the contract, which was in writing, or in
   26
        the alternative, implied by the conduct of the parties or implied in law. The material terms of
   27
        the contract included the following:
   28
                                                          1-

                                                    COMPLAINT




                                                                                EXHIBIT A - Page 13
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    1               a)
                         MARA agreed that Ho" has disclosed or may disclose information" to
    2                    MARA including " technical, business, financial and product development
    3                    plans, forecasts, strategies and information( Proprietary Information')."
    4               b)   MARA       agreed"(
                                                 i) to hold [ HO]' s Proprietary Information in confidence
    5                    and to take all necessary precautions to protect such Proprietary
    6                    Information including, without limitation, all precautions [ MARA]
    7                    employs     with    respect   to its   own   confidential   materials, (   ii) not to divulge


    8                    any such Proprietary Information or any information derived therefrom to
    9                    any third   person, (
                                                  iii) not to make any use of such Proprietary Information,
   10                    except for the below stated purpose, and( iv) not to copy or reverse
   11                    engineer, or attempt to derive the composition or underlying information

   12                    of any such Proprietary Information."
   13               c)   MARA agreed that it would not use the Proprietary Information except for
   14                      o] pportunities relating around cryptocurrency mining, data centers, and
   15                    sourcing of sites with energy for the purpose of utilizing for data center
   16                    usage or cryptocurrency mining."

   17               d)   MARA agreed that during the term of the agreement" neither party shall
   18                    attempt to do business with, or otherwise solicit any business contacts

   19                    found or otherwise referred by [ HO] to [ MARA] for the purpose of
   20                    circumventing, the result of which shall be to prevent [ HO] from realizing
   21                    or recognizing a profit, fees or otherwise, without the specific written
   22                    approval    of[    HO]. If such circumvention shall occur [ HO] shall be entitled

   23                    to any commissions due pursuant to this Agreement or relating to such
   24                    transaction."



   25               e)   The parties agreed that the " obligations            of non- use and non- disclosure


   26                    shall survive for a period of 3 years from the date of disclosure of the

   27                    Proprietary Information."
   28
                                                                2-

                                                       COMPLAINT




                                                                                        EXHIBIT A - Page 14
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    1                   f)    The parties agreed that the" Agreement shall be governed by the laws of
    2                         the State of California and may be enforced in any court in California."
    3          8.      After entering into the contract with MARA, HO transmitted the information to
    4   MARA through Mr. Okamoto. Shortly thereafter, MARA( a) refused to communicate in a
    5   meaningful   manner   with   HO, (   b) entered into a transaction with Beowulf involving
    6   Beowulf' s available energy without compensating HO and ( c) breached the contract by
    7   circumventing HO, by cutting him out of the profits he expected and had a right to obtain, and
    8   by misusing the information for MARA' s own benefit. MARA' s transaction with Beowulf
    9   Energy inured to the great benefit of MARA.

   10          9.      Because MARA purchased most or all of the available energy Beowulf had,

   11   MARA prevented HO from benefiting from his Proprietary Information with others. By
   12   circumventing HO, MARA' s actions were a substantial factor in HO' s losses.
   13          10.     As a direct and proximate result of Defendants' actions, HO has been damaged

   14   in an amount to be proven at trial, but in excess of$ 30, 000, 000.

   15                                        FIRST CAUSE OF ACTION


   16                                Breach   of   Written Contract— Against MARA)


   17          11.     HO realleges and incorporates by reference paragraphs 1 through 10, inclusive,
   18   as though fully set forth herein.
   19          12.     HO and MARA entered into a written contract, the material terms of which are

   20   alleged above in paragraph 7. The legal effect of the written contract was that MARA agreed

   21   not to use the Proprietary Information without HO' s authorization, which terms prevented

   22   MARA from circumventing HO and failing to compensate HO substantially for said use.
   23          13.     HO satisfactorily performed all aspects of his obligations and conditions, and to
   24   the extent HO did not perform any specific act, HO' s performance was excused by MARA' s
   25   own acts and omissions, including in refusing to communicate in a meaningful manner with
   26   HO shortly after HO conveyed information about Beowulf and a potential transaction.
   27

   28
                                                            3-

                                                        COMPLAINT




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    1          14.    MARA breached its contractual obligations to HO by, among other things,

    2   circumventing HO and using information supplied by HO without his authorization by
    3   entering into a transaction with Beowulf, all without compensating HO.
    4          15.    As a direct and proximate result of MARA' s breach of contract, HO has been

    5   damaged in an amount to be proven at trial, but in excess of$ 30, 000, 000.

    6                                  SECOND CAUSE OF ACTION

    7                            Breach     of   Implied Contract— Against MARA)


    8          16.    HO realleges and incorporates by reference paragraphs 1 through 10, inclusive,

    9   as though fully set forth herein.
   10          17.    In the alternative, HO and MARA entered into an implied contract. The

   11   conduct of both parties was intentional, and the conduct of the parties, interpreted in the light

   12   of the subject- matter and of the surrounding circumstances, including HO' s solicitation of
   13   MARA and treatment of the Proprietary Information as confidential, caused MARA to know,
   14   and have reason to know, that HO tendered the Proprietary Information for a price should it

   15   be used. MARA' s voluntary and consensual acceptance thereof created an implied contract
   16   to pay for its use. The material terms of the implied contract include those alleged above in
   17   paragraph 7, and the legal effect thereof was that MARA agreed not to use the Proprietary

   18   Information without HO' s authorization, which terms prevented MARA from circumventing

   19   HO and failing to compensate HO substantially for said use.
   20          18.    HO satisfactorily performed all aspects of his obligations and conditions, and to
   21   the extent HO did not perform any specific act, HO' s performance was excused by MARA' s
   22   own acts and omissions, including in refusing to communicate with HO in a meaningful
   23   manner shortly after HO conveyed information about Beowulf and a potential transaction.
   24          19.    MARA breached its contractual obligations to HO by, among other things,

   25   circumventing HO and using information supplied by HO without his authorization in
   26   entering into a transaction with Beowulf, all without compensating HO.
   27          20.    As a direct and proximate result of MARA' s breach of contract, HO has been

   28   damaged in an amount to be proven at trial, but in excess of$ 30, 000, 000.
                                                          4-

                                                      COMPLAINT




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    1
                                            THIRD CAUSE OF ACTION
    2
                                          Quasi- Contract— Against MARA)
    3
               21.     HO realleges and incorporates by reference paragraphs 1 through 10, inclusive,
    4
        as though fully set forth herein.
    5
               22.     In the alternative, a quasi- contract arose. MARA knowingly accepted and used
    6
        the Proprietary Information, and received monetary and other benefits therefrom, which under
    7
        the circumstances, makes it inequitable for MARA to retain without making restitution to
    8
        HO. As a matter ofjustice and equity, MARA cannot be permitted to retain these benefits
    9
        without compensating Ho substantially for said use.
   10
                                         FOURTH CAUSE OF ACTION
   11
                                         Services Rendered— Against MARA)
   12
               23.     HO realleges and incorporates by reference paragraphs 1 through 10, inclusive,
   13
        as though fully set forth herein.
   14
               24.     In the alternative, MARA has become indebted to HO for services performed at
   15
        MARA' s behest, which were intended to and actually did benefit MARA substantially, and
   16
        MARA has unjustly retained those benefits.
   17
                                            FIFTH CAUSE OF ACTION
   18
            Intentional Interference   with   Prospective Economic Relations— Against All Defendants)
   19
               25.     HO realleges and incorporates by reference paragraphs 1 through 10, inclusive,
   20
        as though fully set forth herein.
   21
               26.     As a result of HO' s dealings with Beowulf for its finite amount of available
   22
        energy, Beowulf' s willingness to sell the same, and HO' s ability to capitalize on that sale for
   23
        HO' s own benefit, HO enjoyed a prospective       economic   advantage   in connection   with
   24
        Beowulf.
   25
               27.     Defendants,     and each of them, knew of HO' s prospective    economic    advantage
   26
        and HO' s relationship with Beowulf. After the agreement between MARA and HO was
   27
        signed and under the circumstances alleged above, HO disclosed to Defendants, in
   28
                                                          5-

                                                     COMPLAINT




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    1
        confidence, HO' s prospective economic advantage with Beowulf.
    2
               28.      Defendants engaged in wrongful conduct by ( a) breaching said confidence and
    3
        the agreement with HO alleged above and ( b) further soliciting, negotiating and ultimately
    4
        causing MARA to enter into a transaction with Beowulf to purchase its available energy, all
    5
        while circumventing HO.
    6
               29.      By engaging in this conduct, Defendants intended to disrupt HO' s prospective
    7
        economic advantage with Beowulf, or at least, Defendants knew that disruption was
    8
        substantially certain to occur.
    9
               30.      HO' s prospective   economic   advantage   was in fact disrupted   because MARA
   10
        purchased Beowulf' s remaining energy available, without compensation to HO, thus
   11
        foreclosing HO' s ability to enjoy his prospective economic advantage.
   12
               31.      HO was harmed by Defendants' conduct, and their conduct was a substantial
   13
        factor in causing HO' s harm.
   14
               32.      The actions complained of herein were done by Defendants, and each of them,
   15
        maliciously and oppressively, intending to damage HO for Defendants' own benefit. HO is
   16
        entitled to an award of punitive damages to be established by proof at trial.
   17
                                            SIXTH CAUSE OF ACTION
   18
            Negligent Interference   with   Prospective Economic Relations— Against All Defendants)
   19
               33.      HO realleges and incorporates by reference paragraphs 1 through 10, inclusive,
   20
        as though fully set forth herein.
   21
               34.      As a result of HO' s dealings with Beowulf for its finite amount of available
   22
        energy, Beowulf' s willingness to sell the same, and HO' s ability to capitalize on that sale for
   23
        HO' s own benefit, HO enjoyed a prospective economic advantage with Beowulf.
   24
               35.      Defendants, and each of them, knew of HO' s prospective economic advantage
   25
        and HO' s relationship with Beowulf. After the agreement between MARA and HO was
   26
        signed and under the circumstances alleged above, HO disclosed to Defendants, in
   27
        confidence,   HO' s prospective   economic   advantage   with Beowulf.
   28
                                                          6-

                                                     COMPLAINT




                                                                                 EXHIBIT A - Page 18
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     1
                36.     Defendants, and each of them, owed HO a duty to act with reasonable care,
     2
         failed to act with reasonable   care, and engaged in wrongful conduct.     This wrongful    conduct
     3
         included( a) breaching said confidence and the agreement( s) alleged above and ( b) further
     4
         soliciting, negotiating and ultimately causing MARA to enter into a transaction with Beowulf
     5
         to purchase most or all its available energy, all while circumventing HO.
     6
                37.     By engaging in this conduct, Defendants negligently disrupted HO' s
     7
         prospective economic advantage with Beowulf.
     8
                38.     HO' s prospective economic advantage was in fact disrupted because MARA
     9
         purchased most if not all of Beowulf' s remaining energy available, without compensation to
    10
         HO, thus foreclosing HO' s ability to enjoy his prospective economic advantage.
    11
                39.     HO was harmed by Defendants' conduct, and their conduct was a substantial
    12
         factor in causing HO' s harm.
    13


    14
                                              PRAYER FOR RELIEF
    15
                WHEREFORE, HO prays for judgment against as follows:
    16
                On the First, Second and Fourth Causes of Action against MARA:
    17
                1.      For damages and/ or restitution according to proof at trial of at least $ 30, 000, 000;
    18
                2.      For costs of suit;
    19
                3.      For such other and further relief as the Court may deem just and proper;
    20
                On the Third Cause of Action against MARA:
    21
                1.      For restitution and disgorgement of unjust enrichment, amounting to at least
    22
                         30, 000, 000.
    23
                2.      For costs of suit;
   24
                3.      For such other and further relief as the Court may deem just and proper;
   25

   26


   27


   28
                                                           7-

                                                     COMPLAINT




                                                                                 EXHIBIT A - Page 19
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                                 s

     1
                  On the Fifth Cause of Action against Defendants:
     2
                  1.        For damages, restitution and disgorgement of the amount by which Defendants
     3
                            were unjustly enriched, amounting to at least$ 30, 000, 000;
     4
                  2.        For punitive damages;
     5
                  3.        For costs of suit;
     6
                  4.        For such other and further relief as the Court may deem just and proper;
     7
                  On the Sixth Cause of Action against Defendants:
     8
                  1.        For damages, restitution and/ or disgorgement of and constructive trust over the
     9
                            amount by which Defendants were unjustly enriched, amounting to at least
    10
                             30, 000, 000;
    11
                  2.        For costs of suit;
    12
                  3.        For such other and further relief as the Court may deem just and proper.
    13

    14
         Dated:                  14, 2021             FOUNDATION         LAW GROUP LLP
                       January
    15
                                                      By / s/ Gregg D. Zucker
    16                                                     Attorneys for Plaintiff

    17


    18                                              JURY DEMAND

    19            Plaintiff hereby demands trial by jury on all causes of action so triable.
   20


   21                                                 FOUNDATION         LAW GROUP LLP
         Dated:        January   14, 2021

   22
                                                      By     / s/ Gregg D. Zucker
                                                           Attorneys for Plaintiff
   23


   24


   25


   26


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                                                              8-

                                                       COMPLAINT




                                                                                     EXHIBIT A - Page 20
            Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 12 of 18 Page ID #:22
                                                                                                     ORIGINAL
                                                                                          r




                                                                                                                                                                                         REC' D JAN 14 2021
                                                                     SUPERIOR                       COURT         OF CALIFORNIA,            COUNTY     OF RIVERSIDE


            BANNING 311 E.                Ramsey St., Banning, CA 92220                                                     0   MURRI ETA    30755- D Auld   Rd.,   Suite   1226,   Murrieta,    CA 92563
            BLYTHE 265 N.                Broadway, Blythe, CA 92225                                                             PALM SPRINGS      3255 E. Tahquitz      Canyon Way, Palm Springs,                     CA 92262
            CORONA           505       S. Buena Vista, Rm. 201, Corona, CA 92882                                            0   RIVERSIDE    4050 Main St., Riverside,       CA 92501
            HEMET         880     N.   State St.,     Hemet,    CA 92543                                                        TEMECULA 41002      County Center Dr.,# 100, Temecula,                  CA 92591
            MORENO           VALLEY            13800 Heacock St., Ste. D201,                        Moreno Valley, CA 92553
                                                                                                                                                                                                                                           RI- C1032

  ATTORNEY         OR   PARTY    WITHOUT       ATTORNEY(   Name,   State   Bar   Number             Address)
                                                                                              and
                                                                                                                                                                                                FOR COURT USE ONLY




   Gregg Zucker ( SBN 166692)
   Foundation Law Group LLP, 2049 Century Park East, Suite 2460, LA, CA 90067
                                                                                                                                                                                                                                              5A 1
                        TELEPHONE N0:          31 0. 403. 9227                                       FAX" JC (   Opronaq:                                                                                        E D  CALIFORNIA
                                                                                                                                                                                SUPERIOR         COURT

      E- MAIL ADDRESS( Optional): g reg g @fou ndation law. coal
            ATTORNEY FOR( Name). Michael                   Ho

                                                                                                                                                                                          JAN 14 2021
                   PLAINTIFF/ PETONER:
                                 ITI                           Michael           Ho                                                                                                                                                                   0
                                                                                                                                                                                    L.   VILLANUEVA                                                  a
            DEFENDANT/ RESPONDENT:                             Marathon            Patent             Group,         Inc.                                             CASE NUMBER.


                                                                                                                                                                     CVRI                   2100078
                                                                                                       CERTIFICATE                 OF COUNSEL



 The undersigned                           certifies that this matter should be tried or heard in the court identified                                                                   above for the reasons
 specified below:


                                                                                                                    92501
        0           The          action         arose      in the zip             code              of:                                                                                                                                     r


                    The action concerns real property located in the zip code of:
                                                                                                                                                                                                                                             oJ
                    The Defendant resides in the zip code of:
                                                                                                                                                                                                                                              m



 For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 1. 0015 at vwvw. riverside. courts. ca. gov.




 I certify ( or declare) under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.




                        1/ 14/ 21
      Date




    Gregg Zucker
            TYPE    OR   PRINT    NAME    OF    O   ATTORNEY       PARTY    MAKING    DECLARATION)                                                                          SIGNATURE)


                                                                                                                                                                                                                                        Page 1 of 1
Approved    for Mandatory       Use                                                                                                                                                                                                Local    Rule    10015
Riverside   Supenor  Court
                                                                                                          CERTIFICATE             OF COUNSEL
                                                                                                                                                                                            riverside   courts   ca   pov/ loralfrms/   localfrms    shtml

RI- C1032 [ Rev 08/ 15/ 131
Reformatted    01/ 07/ 19)




                                                                                                                                                                                 EXHIBIT A - Page 21
       Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 13 ofR18G' 0Page
                                                                               JANID14
                                                                                    #:232021
                                                                                                                    ORIGINAL                                                                                                                               CM- o. o.
 ATTORNEY          OR PARTY WITHOUT ATTORNEY(                                 Name, State Bar           number, and address):
                                                                                                                                                     f
                                                                                                                                                                                                                 FOR COURT           USE     ONLY
                                                                                                                                                                                                                                                                       dA     al


      Gregg D. Zucker( 166692)
      Foundation Law Group LLP
      2049 Century Park East, Suite 2460n
      Los Angeles, California                                 90067                                                                                                                                                        l          E ,4
               TELEPHONENO.:                   310. 403. 9227                                                    FAX No.!:                                                                           SUPERIOR COURT OF , ALIveRNIbZ
                                                                                                                                                                                                         COUNTY OF RIVE SIP
     ATTORNEY      FOR(         Name):         Plaintiff Michael                            Ho
SUPERIOR COURT OF                        CALIFORNIA,                COUNTY OF                 Riverside                                                                                                                                  201
          STREETADDRESS:                       4050 Main Street
                                                                                                                                                                                                                 JAN 1
                                                                                                                                                                                                                   HIS
                                                                                                                                                                                                                                                                            N.)

         MAILING         ADDRESS:

                                                                          California                    92501
                                                                                                                                                                                                          L. VILLANUEVA
        CITY AND ZIP CODE:                     Riverside,
                BRANCH NAME: RiversidHistoric                                                 Courthouse
     CASE       NAME:

     Michael Ho v. Marathon Patent Group, Inc. _._ _ ___,._
                                                                                                                                                                                           CASE NUMBER:
         CIVIL           CASE COVER SHEET                                                                              Complex Case Designation
               Unlimited                                      Limited
                                                                                                                                                                                            CVRI                   2100078                                                   I_"
                                                                                                                          Counter                                     Joinder                                                                                                T
               Amount                                          Amount                                                                                                                                                                                                        1„
                                                                                                                                                                                            JUDGE:
               demanded                                       demanded                 is                       Filed with first         appearance
                                                                                                                                                                      by   defendant

               exceeds$               25, 000)           $      25, 000 or less)                                       Cal. Rules            of     Court, rule 3. 402)                      DEPT:                                                                           0
                                   Items 1- 6 below must be complefed' i( see instructions on.page. 2):
1.     Check one box below for the case type that best describes this case:
       Auto Tort                                                                                           Contract                                                                 Provisionally      Complex Civil Litigation
                                                                                                           I           Breach     of contract/ warranty(                   06) (    Cal. Rules of Court, rules 3. 400- 3. 403)
                  Auto( 22)

                  Uninsured              motorist(        46)                                              I           Rule 3. 740       collections(             09)                     Antitrust/ Trade        regulation(         03)                                     Ill
                                         Personal                                                                      Other    collections(             09)                              Construction        defect(      10)
       Other     PI/ PD/ WD(                                  Injury/ Property
       Damage/ Wrongful                        Death)     Tort                                                         Insurance        coverage(               18)                       Mass tort( 40)

                  Asbestos(              04)
                                                                                                           n.          Other    contract(           37)                             Q Securities litigation( 28)
                  Product             liability( 24)                                                       Real    Property                                                         n Environmental/Toxic tort( 30)
                  Medical             malpractice(            45)
                                                                                                          in,          Eminent     domain/ Inverse
                                                                                                                                                   14)
                                                                                                                                                                                    Q Insurance coverage claims arising from the
                                                                                                                       condemnation(                                                      above listed provisionally                 complex        case
                  Other          PI/ PD/ WD( 23)
                                                                                                                                                                                          types( 41)
                                                                                                                       Wrongful
                                                                                                                            g       eviction(             33)
        Non- Pl/ PD/ WD( Other) Tort
                                                                                                                       Other    real    property(          26)                      Enforcement of Judgment
                  Business             tort/ unfair business                   practice(       07) '
                                                                                                           Unlawful       Detainer                                                        Enforcement           of judgment(          20)
                  Civil        rights(     08)
                                                                                                                       Commercial(            31)                                   Miscellaneous       Civil Complaint
                  Defamation(                  13)
                                                                                                                       Residential(          32)
                  Fraud(          16)                                                                                                                                                     RICO(     27)

       n,Intellectual                     property( 19)
                                                                                                                       Drugs(     38)                                               n Other complaint( not specified above)( 42)
       I•         Professional                 negligence(              25)                                Judicial      Review
                                                                                                                                                                                    Miscellaneous       Civil    Petition

       1- 1       Other          non-    PI/ PD/ WD tort( 35)                                                     I Asset forfeiture( 05)
                                                                                                                                                                                          Partnership and corporate governance( 21)
        Employment                                                                                                     Petition   re: arbitration               award(     11)
                                                                                                                                                                                          Other petition( not specified above)( 43)
                  Wrongful             termination(            36)                                                     Writ of mandate( 02)

       n:Other                  employment(              15)                                               n Other judicial review( 39)
2.      This case .               1        I   is        I'         I   is not              complex under rule 3. 400 of the California Rules of Court. If the case is complex, mark the
        factors requiring exceptional judicial management:
                     r




        a.[               L•arge         number          of    separately               represented                parties                   d.     .,      Large number of witnesses

        b.     n          E•xtensive                 motion     practice            raising difficult               or novel                 e. n:Coordination with related actions pending in one or more courts
                          issues that will be time- consuming                                             to    resolve                                     in other counties,          states, or countries,              or in a federal court

        C. (   n          S•ubstantial                amount            of    documentary                      evidence                  f. fnSubstantial postjudgment judicial supervision

3.      Remedies                sought(              check     all      that apply):               a.            monetary               b.                nonmonetary;             declaratory    or   injunctive        relief              C. n punitive
4.      Number            of     causes              of action(          specify):            Six
5.      This     case                           is                      is not          a class action                 suit.

6.       If there        are      any known related                           cases,        file    and        serve    a notice        of related              case:        ou may use form CM- 015.)

Date: January 14, 2021
Gregg Zucker                                                                                                                                               toi'
                                                     TYPE OR PRINT             NAME),                                                                                              SIGNATURE OF PARTY OR ATTORNEY FOR PARTY).
                                                                                                                                       NOTICE,
        Plaintiff must file this cover sheet with the first paper filed in the action or proceeding( except small claims cases or cases filed
        under   the Probate Code, Family Code, or Welfare and Institutions Code). ( Cal. Rules of Court, rule 3. 220.) Failure to file may result
        in sanctions.
        File this cover sheet in addition to any cover sheet required by local court rule.
        If this case is complex under rule 3. 400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding. ,
        Unless this is a collections case under rule 3. 740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                         raga                                                                                                                       of,2

                                                                                                                                                                                               Cal. Rules of Court, rules 2. 30, 3,220, 3, 400- 3, 403, 3. 740;
Form Adopted for         Mandatory
                                California
                                           Use
                                                                                                               CIVIL CASE COVER SHEET                                                                     Cal. Standards       of Judicial   Administration,   std, 3, 10
     Judidal   Council    of


                                                                                                                                                                                                        EXHIBIT A - Page 22
                                                                                                                                                                                                                                                www, courtinlo,   ca, gov
     CM- 010( Rev.       July   1, 2007]
           Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 14 of 18 Page ID #:24
                                                                                                                                                                                                                         CM- 010
                                                                        INSTRIIONS       ON HOW                   TO COMPLETE                             THE CO,      SHEET
    To Plaintiffs and Others Filing First Papers.        If you are filing a first paper ( for example, a complaint) in a civil case, you must
    complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
    statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet.                                                                              In item 1, you must check
    one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
    check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
    To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
    sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
    its counsel, or both to sanctions under rules 2. 30 and 3. 220 of the California Rules of Court.
    To Parties in Rule 3. 740 Collections Cases. A" collections case" under rule 3. 740 is defined as an action for recovery of money
    owed in a sum stated to be certain that is not more than$ 25, 000, exclusive of interest and attorney' s fees, arising from a transaction in
    which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: ( 1) tort
    damages, ( 2)     punitive damages, ( 3) recovery of real property, ( 4) recovery of personal property, or ( 5) a prejudgment writ of
    attachment. The identification of a case as a rule 3. 740 collections case on this form means that it will be exempt from the general
    time- for- service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3. 740 collections
    case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
    To Parties in Complex Cases.         In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
    case is complex. If.a-plaintiff believes' ti e••.case. s complexunderrtale 3400 of the Cafifomia Rules pt•Court, this,must be indicated by
    completing the.appropriate boxes in, items I and 2: If a plaintiff designates>acase as complex, the_cover sheetmust be served with the
    complaint on all parties to the action A defendant may,='file and',Serve: do later than the time.gf its first appearance a joinder in the
    plaintiffs      designation,
                                               ta
                                                     counter: designation thetthe: case: is not compfex,; or, if the plaintiffhas. made• no?designation, a designation that
    the    case    is   complex.
                                                                                                CASE TYPES AND EXAMPLES
    Auto Tort                                                                   Contract                                                                            Provisionally     Complex Civil Litigation( Cal.
                                                                                        Breach      of   Contract/           Warranty(          06)                 Rules of Court Rules 3. 400- 3. 403)
           Auto( 22)— Personal                  Injury/ Property
                                                                                               Breach        of   Rental/ Lease                                          Antitrust/Trade Regulation( 03)
                  Damage/ Wrongful                   Death
                                                                                                      Contract(          not unlawful              detainer               Construction       Defect(      10)
           Uninsured          Motorist( 46)( if the
                                                                                                             or wrongful             eviction)                            Claims Involving Mass Tort( 40)
                  case      involves          en uninsured
                                                                                               Contract/         Warranty            Breach— Seller                       Securities Litigation( 28)
                  motorist claim              subject          to
                                                                                                      Plaintiff(        not    fraud       or   negligence)               Environmental/ Toxic Tort( 30)
                  arbitration, check                this item
                                                                                               Negligent          Breach           of   Contract/                         Insurance       Coverage        Claims
                  instead        of    Auto)
                                                                                                      Warranty                                                               arising from provisionally complex
    Other    PI/ PDiWD(             Personal          Injury/
                                                                                               Other     Breach          of    ContracWVarranty                             case type listed above)( 41)
    Property       Damage/ Wrongful Death)
                                                                                        Collections(         e. g.,                     owed, open                   Enforcement of Judgment
                                                                                                            money
    Tort
                                                                                               book accounts)( 09)                                                        Enforcement        of Judgment(          20)
           Asbestos(          04)
                                                                                               Collection          Case—Seller Plaintiff                                      Abstract of Judgment( Out of
                  Asbestos            Property       Damage
                                                                                               Other     Promissory                Note/ Collections                                  County)
                  Asbestos            Personal        Injury/
                                                                                                 Case                                                                         Confession           of Judgment(          non-
                          Wrongful            Death
                                                                                        Insurance Coverage(                     not       provisionally                               domestic       relations)
           Product        Liability(         not asbestos               or
                                                                                               complex)(           18)                                                        Sister State Judgment
               toxic/ environmental)(                      24)
           Medical Malpractice( 45)
                                                                                               Auto      Subrogation                                                          Administrative Agency Award
                                                                                               Other Coverage                                                                         not unpaid        taxes)
                  Medical         Malpractice—
                                                     Surgeons                           Other Contract(                37)                                                    Petition/ Certification of Entry of
                            Physicians&
                                                                                                                                                                                    Judgment        on Unpaid       Taxes
                  Other       Professional            Health            Care                   Contractual             Fraud
                                                                                                                                                                              Other Enforcement of Judgment
                            Malpractice                                                        Other Contract                Dispute
                                                                                                                                                                                      Case
                                                                                 Real    Property
           Other    PI/ PDM/           D( 23)                                                                                                                         Miscellaneous        Civil    Complaint
                                                                                        Eminent        Domain/ Inverse
                  Premises             Liability(    e.   g., slip                                                                                                        RICO(     27)
                                                                                               Condemnation(                   14)
                            and     fall)
                                                                                                                                                                          Other Complaint(          not specified
                  Intentional                                       PD/ WD              Wrongful         Eviction(           33)
                                        Bodily Injury/                                                                                                                        above)( 42)
                            e. g., assault,           vandalism)                        Other    Real       Property(           e. g.,     quiet     title)( 26)
                                                                                                                                          Real
                                                                                                                                                                               Declaratory Relief Only
                  Intentional Infliction                  of                                   Writ    of   Possession               of              Property                  Injunctive Relief Only( non-
                            Emotional           Distress                                       Mortgage           Foreclosure
                                                                                                                                                                                      harassment)
                  Negligent            Infliction     of                                       Quiet Title
                                                                                                                                                                              Mechanics          Lien
                            Emotional           Distress                                       Other        Real       Property(          not eminent
                                                                                                                                                                              Other Commercial              Complaint
                  Other PI/ PD/ WD                                                             domain,        landlord/ tenant,                 or
                                                                                                                                                                                      Case( non- tort/non-complex)
    Non- PI/ PD/ WD( Other) Tort                                                               foreclosure)
                                                                                                                                                                              Other Civil Complaint
                                                                                 Unlawful        Detainer
           Business Tort/ Unfair                    Business                                                                                                                          non- tort/ non- complex)
               Practice(          07)                                                   Commercial(              31)
                                                                                                                                                                      Miscellaneous        Civil Petition
           Civil Rights(          e.   g., discrimination,                              Residential(          32)
                                                                                                                                                                          Partnership and Corporate
                  false     arrest)(         not civil                                  Drugs( 38)( if the               case        involves        illegal                   Governance(          21)
                  harassment)(                08)                                              drugs,       check        this item;         otherwise,                    Other Petition( not specified
           Defamation(              e. g.,    slander,         libel)                          report       as    Commercial               or   Residential)
                                                                                                                                                                              above)(      43)
                    13)                                                          Judicial       Review                                                                        Civil    Harassment
           Fraud(       16)                                                             Asset Forfeiture(                05)                                                  Workplace          Violence
           intellectual                             19)                                 Petition      Re: Arbitration Award(                       11)                         Elder/Dependent Adult
                                 Property(
           Professional             Negligence(                25)                      Writ   of   Mandate(             02)                                                          Abuse
                            Malpractice                                                        Writ—Administrative                      Mandamus
                  Legal                                                                                                                                                        Election Contest
                              Professional           Malpractice                               Writ—Mandamus                    on      Limited       Court
                  Other                                                                                                                                                        Petition for Name Change
                          not medical or             legal)                                           Case Matter                                                              Petition    for Relief From          Late
            Other       Non- PI/ PD/ WD Tort( 35)                                              Writ—Other Limited                       Court Case                                    Claim
    Employment                                                                                        Review                                                                   Other Civil Petition
           Wrongful             36)
                            Termination(                                                Other Judicial Review( 39)
           Other Employment( 15)                                                            Review of Health Officer Order
                                                                                            Notice of Appeal—Labor
                                                                                                    Commissioiier.A,opeals                               _.
                            1,
                                                                                                                                                                                                                            p g ore
    CM- 010[ Rev,    July        20071                                                                                 COVER                SHEET
                                                                                        CIVIL CASE



                                                                                                                                                                            EXHIBIT A - Page 23
l
   Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 15 of 18 Page ID #:25



              SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                            Historic    Court    House
                                              4050 Main Street, Riverside, CA 92501

Case Number:          CVRI2100078


Case Name:            HO vs MARATHON PATENT GROUP INC A NEVADA CORPORATION



Gregg David Zucker
2049 CENTURY PARK E
STE 2460
Los Angeles, CA 90067




                                      NOTICE       OF CASE       MANAGEMENT                CONFERENCE



  The Case Management          Conference      is scheduled     as follows:



                            Hearing Date                         Hearing Time                  I              Department

                             07/ 26/ 2021                           8: 30 AM                                 Department 3

                Location of Hearing:
                                            4050 Main Street, Riverside, CA 92501




  No later than 15 calendar days before the date set for the case management conference or review, each party must
  file a case management statement and serve it on all other parties in the case.                             CRC, Rule 3. 725.


  The plaintiff/ cross- complainant shall serve a copy of this notice on all defendants/ cross- defendants who are named
  or added to the complaint and file proof of service.


  Any disqualification pursuant to CCP Section 170. 6 shall be filed in accordance with that section.


              Interpreter services are available      upon request.     If you need an interpreter,          please complete and submit the online
              Interpreter   Request   Form ( https:// riverside. courts. ca. gov/ Divisions/       Interpreterinfo/   ri- in007. pdf) or contact   the clerk' s
              office and verbally request an interpreter. All requests must be made in advance with as much notice as possible,
              and prior to the hearing date in order to secure an interpreter.
              Assistive listening systems, computer- assisted real time captioning, or sign language interpreter services are
              available upon request if at least 5 days notice is provided. Contact the Office of the ADA Coordinator by calling
               951) 777- 3023 or TDD( 951) 777- 3769 between 8: 00 am and 4: 30 pm or by emailing ADA@riverside. courts. ca. gov
              to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order( form MC-
              410) must be submitted        when   requesting   an accommodation. (      Civil Code section 54. 8.)




                                                                                                                        EXHIBIT A - Page 24
         Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 16 of 18 Page ID #:26



                                                  CERTIFICATE OF MAILING

      I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
      party to this action or proceeding. In my capacity, I am familiar with the practices and procedures used in
      connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
      Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the
      same day in the ordinary course of business. I certify that I served a copy of the Notice of Case Management
      Conference on this date, by depositing said copy as stated above.


       Dated: 01/ 20/ 2021                                       W. SAMUEL HAMRICK JR.,
                                                                 Court Executive Officer/ Clerk of Court




                                                                                 60-
                                                                                   40,0-----
                                                                by:   p   .


                                                                      L. Villanueva, Deputy Clerk
CI- NOCMC
Rev. 03/ 06/ 20)




                                                                                               EXHIBIT A - Page 25
    Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 17 of 18 Page ID #:27

Notice has been printed for the following Firm/ Attorneys or Parties: CVRI2100078


 Zucker,   Gregg   David                              HO, MICHAEL
 2049 CENTURY PARK E
 STE 2460
 Los Angeles, CA 90067




 MARATHON PATENT GROUP INC A
 NEVADA CORPORATION




                                            Page 7   of   7 Pages
                                                                                    EXHIBIT A - Page 26
           Case 5:21-cv-00339-SSS-SP Document 1-1 Filed 02/25/21 Page 18 of 18 Page ID #:28

                       SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                                   Historic   Court     House
                                                      4050 Main Street, Riverside, CA 92501


 Case Number:                 CVRI2100078


 Case Name:                   HO vs MARATHON PATENT GROUP INC A NEVADA CORPORATION




                                                  NOTICE OF DEPARTMENT ASSIGNMENT

          The above entitled case is assigned to the Honorable Judge Chad Firetag in Department 3 for All Purposes.

          Any disqualification pursuant to CCP section 170. 6 shall be filed in accordance with that section.

          The court follows California Rules of Court, Rule 3. 1308( a)( 1) for tentative rulings ( see Riverside Superior Court
          Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3: 00 p. m. on the
          court day immediately before the hearing at http:// riverside. courts. ca. gov/tentativerulings. shtml. If you do not have
          internet access, you may obtain the tentative ruling by telephone at( 760) 904- 5722.

          To request oral argument, you must( 1) notify the judicial secretary at( 760) 904- 5722 and ( 2) inform all other
          parties, no later than 4: 30 p. m. the court day before the hearing. If no request for oral argument is made by
          4: 30 p. m., the tentative ruling will become the final ruling on the matter effective the date of the hearing.

          The filing party shall serve a copy of this notice on all parties.


                       Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
                   a
          s t)         Interpreter Request Form ( https:// riverside. courts. ca. gov/ Divisions/ InterpreterInfo/ ri- in007. pdf) or contact the clerk' s
     ll                office and verbally request an interpreter. All requests must be made in advance with as much notice as possible,
                       and prior to the hearing date in order to secure an interpreter.
                       Assistive listening systems, computer- assisted real time captioning, or sign language interpreter services are
                       available upon request if at least 5 days notice is provided. Contact the Office of the ADA Coordinator by calling
                        951) 777- 3023 or TDD( 951) 777- 3769 between 8: 00 am and 4: 30 pm or by emailing ADA@riverside. courts. ca. gov
                       to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order( form MC-
                       410) must be submitted     when   requesting   an accommodation. (       Civil Code section   54. 8.)




          Dated: 01/ 20/ 2021                                                     W. SAMUEL        HAMRICK       JR.,
                                                                                  Court Executive Officer/ Clerk of Court




                                                                                                     04“ 00-----
                                                                                  by:   p   .


                                                                                        L. Villanueva, Deputy Clerk
CI- NODACV
Rev. 10/ 01/ 19)




                                                                                                                        EXHIBIT A - Page 27
